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 1 Julie R. Trotter, Bar No. 209675
    jtrotter@calljensen.com
 2 Kent R. Christensen, Bar No. 253815
 3 kchristensen@calljensen.com
   Delavan J. Dickson, Bar No. 270865
 4 ddickson@calljensen.com
   CALL & JENSEN
 5 A Professional Corporation
 6 610 Newport Center Drive, Suite 700
   Newport Beach, CA 92660
 7 Tel: (949) 717-3000
   Fax: (949) 717-3100
 8
   Attorneys for Defendant 7-Eleven, Inc.
 9
10                                UNITED STATES DISTRICT COURT
11                               CENTRAL DISTRICT OF CALIFORNIA
12
13 EDWARDO MUNOZ, individually and on             Case No. 2:18-cv-03893 RGK (AGR)
   behalf of all others similarly situated,
14                                                JOINT STIPULATION TO
15               Plaintiff,                       CONTINUE MAY 20, 2019 HEARING
                                                  ON PLAINTIFF’S MOTION FOR
16                     vs.                        SUMMARY JUDGMENT IN LIGHT
                                                  OF ONGOING SETTLEMENT
17 7-ELEVEN, INC., a Texas corporation,           DISCUSSIONS
18                     Defendant.                 [Filed concurrently with [Proposed]
19                                                Order]
20
21
22                                                Complaint Filed:       May 9, 2018
                                                  First Am. Comp. Filed: July 9, 2018
23                                                Trial Date:            July 2, 2019
24
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     SEV05-13:2482175_1:5-9-19                     -1-
       JOINT STIPULATION TO CONTINUE MAY 20, 2019 HEARING ON PLAINTIFF’S MOTION FOR SUMMARY
                       JUDGMENT IN LIGHT OF ONGOING SETTLEMENT DISCUSSIONS
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 1            Plaintiff Edwardo Munoz and Defendant 7-Eleven, Inc. jointly request that the
 2 Court continue the hearing currently set on Plaintiff’s Motion for Summary Judgment
 3 from May 20, 2019 to June 3, 2019, at 9:00 a.m.
 4            The Parties respectfully submit that good cause exists for this continuance
 5 because: (1) having additional time to focus on settlement, discussions of which have
 6 been ongoing since the Parties’ April 9, 2019 mediation, will make reaching a
 7 resolution more likely; (2) the Parties believe the current procedural posture of the case
 8 where both Parties have pending yet unruled on summary judgment motions also is of
 9 assistance to their settlement efforts; (3) the Parties do not believe any more additional
10 time is necessary for them to fully exhaust their settlement efforts at this juncture; and
11 (4) if settlement is reached, it likely will help the Court avoid the unnecessary
12 expenditure of time and resources on the pending summary judgment motions.
13
14 Dated: May 9, 2019                       CALL & JENSEN
                                            A Professional Corporation
15                                          Julie R. Trotter
                                            Kent R. Christensen
16                                          Delavan J. Dickson
17
18                                          By: /s/ Julie R. Trotter
                                                Julie R. Trotter
19
                                            Attorneys for Defendant 7-Eleven, Inc.
20
21 Dated: May 9, 2019                       WOODROW & PELUSO, LLC
                                            Steven L. Woodrow
22                                          Patrick H. Peluso
                                            Taylor T. Smith
23
24
                                            By: /s/ Patrick H. Peluso
25                                              Patrick H. Peluso
26                                          Attorneys for Plaintiff Edwardo Munoz
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     SEV05-13:2482175_1:5-9-19                     -2-
       JOINT STIPULATION TO CONTINUE MAY 20, 2019 HEARING ON PLAINTIFF’S MOTION FOR SUMMARY
                       JUDGMENT IN LIGHT OF ONGOING SETTLEMENT DISCUSSIONS
Case 2:18-cv-03893-RGK-AGR Document 79 Filed 05/09/19 Page 3 of 3 Page ID #:892



1                                SIGNATURE CERTIFICATION
2             I hereby certify that the content of this document is acceptable to Patrick H.
3 Peluso, Counsel for Plaintiff Edwardo Munoz, and that I have obtained Mr. Peluso’s
4 authorization to affix his electronic signature to this document.
5
6 Dated: May 9, 2019                                     /s/ Julie R. Trotter
                                                        Julie R. Trotter
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     SEV05-13:2482175_1:5-9-19                     -3-
       JOINT STIPULATION TO CONTINUE MAY 20, 2019 HEARING ON PLAINTIFF’S MOTION FOR SUMMARY
                       JUDGMENT IN LIGHT OF ONGOING SETTLEMENT DISCUSSIONS
